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                        EXHIBIT D
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   (12)   United States Patent                                                                   (10)       Patent No.:     US 8,090,008 B2
          Tzannes                                                                                (45)       Date of Patent:      *Jan. 3, 2012

   (54)   SYSTEM AND METHOD FOR SCRAMBLING                                                  (56)                                 References Cited
          THE PHASE OF THE CARRIERS IN A
          MULTICARRIER COMMUNICATIONS                                                                                 U.S. PATENT DOCUMENTS
          SYSTEM                                                                                       3,898,566 A                  8/1975 Switzer et al.

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   (73)   Assignee: Aware, Inc., Bedford, MA (US)                                                                FOREIGN PATENT DOCUMENTS
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   ( *)   Notice:      Subject to any disclaimer, the term of this                                                                       (Continued)
                       patent is extended or adjusted under 35
                       U.S.c. 154(b) by 106 days.
                       This patent is subject to a terminal dis-                                                           OTHER PUBLICATIONS
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   (22)   Filed:       May 20, 2010                                                                                                      (Continued)
   (65)                   Prior Publication Data
          US 201 010290507 Al           Nov. 18,2010                                        Primary Examiner - Tesfaldet Bocure
                                                                                            Assistant Examiner - Lawerence Williams
                    Related U.S. Application Data
                                                                                            (74) Attorney, Agent, or Firm - Jason H. Vick; Sheridan
   (63)   Continuation of application No. 12/255,713, filed on                              Ross PC
          Oct. 22, 2008, now Pat. No. 7,769,104, which is a
          continuation of application No. 111863,581, filed on
          Sep. 28, 2007, now Pat. No. 7,471,721, which is a                                 (57)                                     ABSTRACT
          continuation of application No. 111211,535, filed on
          Aug. 26, 2005, now Pat. No. 7,292,627, which is a                                 A system and method that scrambles the phase characteristic
          continuation of application No. 091710,310, filed on                              of a carrier signal are described. The scrambling of the phase
          Nov. 9,2000, now Pat. No. 6,961,369.                                              characteristic of each carrier signal includes associating a
   (60)   Provisional application No. 601164,134, filed on Nov.                             value with each carrier signal and computing a phase shift for
          9,1999.                                                                           each carrier signal based on the value associated with that
                                                                                            carrier signal. The value is determined independently of any
   (51)   Int. Cl.                                                                          input bit value carried by that carrier signal. The phase shift
          H04B 1/38                      (2006.01)                                          computed for each carrier signal is combined with the phase
          H04L 5/12                      (2006.01)                                          characteristic of that carrier signal so as to substantially
          H04L 27/36                     (2006.01)                                          scramble the phase characteristic of the carrier signals. Bits of
   (52)   U.S. Cl. ......................... 3751222; 375/261; 375/298                      an input signal are modulated onto the carrier signals having
   (58)   Field of Classification Search .......... 375/219-220,                            the substantially scrambled phase characteristic to produce a
                   375/222,259-262,267,295,298-299,320,                                     transmission signal with a reduced PAR.
                   375/324,340; 370/281,295,330,343,436,
                                370/478,480--481; 455/73, 91, 108
          See application file for complete search history.                                                           26 Claims, 2 Drawing Sheets



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                                                          Transceiver 1.Q
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                                                                                      FIG. 1                                                -==
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       STEP 100             GENERATE VALUE(S)




       STEP 110-1
                      r------------ ------------:
                          COMMUNICATE VALUE(S)
                    L------------r------------
                           TO SYNCHRONIZE     I
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       STEP 115            COMPUTE PHASE SHIFT


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                         COMBINE PHASE SHIFT WITH                                                                 -----,
       STEP 120 -                                                                                             ~
                          PHASE CHARACTERISTIC


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       STEP 130   -    COMBINE CARRIER SIGNALS INTO
                          A TRANSMISSION SIGNAL

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        STEP 160       TRANSMIT TRANSMISSION SIGNAL


                                                 FIG. 2
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      SYSTEM AND METHOD FOR SCRAMBLING                                    voltage, current, phase, frequency, power) to the time-aver-
         THE PHASE OF THE CARRIERS IN A                                   aged value of the signal parameter. In DMT systems, the PAR
        MULTICARRIER COMMUNICATIONS                                       of the transmitted signal is determined by the probability of
                    SYSTEM                                                the random transmission signal reaching a certain peak volt-
                                                                          age during the time interval required for a certain number of
                   RELATED APPLICATION                                    symbols. An example of the PAR of a transmission signal
                                                                          transmitted from a DMT transmitter is 14.5 dB, which is
     This application is a Continuation of U.S. patent applica-           equivalent to having a lE-7 probability of clipping. The PAR
  tion Ser. No. 12/255,713, filed Oct. 22, 2008, now U.S. Pat.            of a transmission signal transmitted and received in a DMT
  No. 7,769,104, which is a Continuation of U.S. patent appli-       10   communication system is an important consideration in the
  cation Ser. No. 111863,581, filed Sep. 28, 2007, now U.S. Pat.          design of the DMT communication system because the PAR
  No. 7,471,721, which is a Continuation of U.S. application              of a signal affects the communication system's total power
  Ser. No. 11/211,535, filed Aug. 26, 2005, now U.S. Pat. No.             consumption and component linearity requirements of the
  7,292,627, which is a Continuation of U.S . patent application          system.
  Ser. No. 091710,310, filed Nov. 9, 2000, now U.S. Pat. No.         15      If the phase of the modulated carriers is not random, then
  6,961,369, which claims the benefit of the filing date of               the PAR can increase greatly. Examples of cases where the
  copending U.S. Provisional Application Ser. No. 601164,134,             phases of the modulated carrier signals are not random are
  filed Nov. 9, 1999, entitled "A Method For Randomizing The              when bit scramblers are not used, multiple carrier signals are
  Phase Of The Carriers In A Multicarrier Communications                  used to modulate the same input data bits, and the constella-
  System To Reduce The Peak To Average Power Ratio Of The            20   tion maps, which are mappings of input data bits to the phase
  Transmitted Signal," each of which are incorporated herein              of a carrier signal, used for modulation are not random
  by reference in their entirety.                                         enough (i.e., a zero value for a data bit corresponds to a 90
                                                                          degree phase characteristic of the DMT carrier signal and a
                 FIELD OF THE INVENTION                                   one value for a data bit corresponds to a -90 degree phase
                                                                     25   characteristic of the DMT carrier signal). An increased PAR
     This invention relates to communications systems using               can result in a system with high power consumption and/or
  multicarrier modulation. More particularly, the invention               with high probability of clipping the transmission signal.
  relates to multicarrier communications systems that lower the           Thus, there remains a need for a system and method that can
  peak-to-average power ratio (PAR) of transmitted signals.               effectively scramble the phase of the modulated carrier sig-
                                                                     30   nals in order to provide a low PAR for the transmission signal.
            BACKGROUND OF THE INVENTION
                                                                                      SUMMARY OF THE INVENTION
     In a conventional multicarrier communications system,
  transmitters communicate over a communication channel                      The present invention features a system and method that
  using multicarrier modulation or Discrete Multitone Modu-          35   scrambles the phase characteristics of the modulated carrier
  lation (DMT). Carrier signals (carriers) or sub-channels                signals in a transmission signal. In one aspect, a value is
  spaced within a usable frequency band of the communication              associated with each carrier signal. A phase shift is computed
  channel are modulated at a symbol (i.e., block) transmission            for each carrier signal based on the value associated with that
  rate of the system. An input signal, which includes input data          carrier signal. The value is determined independently of any
  bits, is sent to a DMT transmitter, such as a DMT modem. The       40   input bit value carried by that carrier signal. The phase shift
  DMT transmitter typically modulates the phase characteris-              computed for each carrier signal is combined with the phase
  tic, or phase, and amplitude of the carrier signals using an            characteristic of that carrier signal to substantially scramble
  Inverse Fast Fourier Transform (IFFT) to generate a time                the phase characteristics of the carrier signals.
  domain signal, or transmission signal, that represents the                 In one embodiment, the input bit stream is modulated onto
  input signal. The DMT transmitter transmits the transmission       45   the carrier signals having the substantially scrambled phase
  signal, which is a linear combination of the multiple carriers,         characteristic to produce a transmission signal with a reduced
  to a DMT receiver over the communication channel.                       peak-to-average power ratio (PAR). The value is derived from
     The phase and amplitude of the carrier signals of DMT                a predetermined parameter, such as a random number gen-
  transmission signal can be considered random because the                erator, a carrier number, a DMT symbol count, a superframe
  phase and amplitude result from the modulation of an arbi-         50   count, and a hyperframe count. In another embodiment, a
  trary sequence of input data bits comprising the transmitted            predetermined transmission signal is transmitted when the
  information. Therefore, under the condition that the modu-              amplitude of the transmission signal exceeds a certain level.
  lated data bit stream is random, the DMT transmission signal               In another aspect, the invention features a method wherein
  can be approximated as having a Gaussian probability distri-            a value is associated with each carrier signal. The value is
  bution. A bit scrambler is often used in the DMT transmitter       55   determined independently of any input bit value carried by
  to scramble the input data bits before the bits are modulated to        that carrier signal. A phase shift for each carrier signal is
  assure that the transmitted data bits are random and, conse-            computed based on the value associated with that carrier
  quently, that the modulation of those bits produces a DMT               signal. The transmission signal is demodulated using the
  transmission signal with a Gaussian probability distribution.           phase shift computed for each carrier signal.
     With an appropriate allocation of transmit power levels to      60      In another aspect, the invention features a system compris-
  the carriers or sub-channels, such a system provides a desir-           ing a phase scrambler that computes a phase shift for each
  able performance. Further, generating a transmission signal             carrier signal based on a value associated with that carrier
  with a Gaussian probability distribution is important in order          signal. The phase scrambler also combines the phase shift
  to transmit a transmission signal with a low peak-to-average            computed for each carrier signal with the phase characteristic
  ratio (PAR), or peak-to-average power ratio. The PAR of a          65   of that carrier signal to substantially scramble the phase char-
  transmission signal is the ratio of the instantaneous peak              acteristic of the carrier signals. In one embodiment, a modu-
  value (i.e., maximum magnitude) of a signal parameter (e.g.,            lator, in communication with the phase scrambler, modulates
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  bits of an input signal onto the carrier signals having the             QAM symbols 58 in the frequency domain. In particular, the
  substantially scrambled phase characteristics to produce a              QAM encoder 42 maps the input serial data bit stream 54 into
  transmission signal with a reduced PAR.                                 N parallel quadrature amplitude modulation (QAM) constel-
                                                                          lation points 58, or QAM symbols 58, where N represents the
             DESCRIPTION OF THE DRAWINGS                                  number of carrier signals generated by the modulator 46. The
                                                                          BAT 44 is in communication with the QAM encoder 42 to
     The invention is pointed out with particularity in the               specifY the number of bits carried by each carrier signal. The
  appended claims. The advantages of the invention described              QAM symbols 58 represent the amplitude and the phase
  above, as well as further advantages of the invention, may be           characteristic of each carrier signal.
  better understood by reference to the following description        10      The modulator 46 provides functionality associated with
  taken in conjunction with the accompanying drawings, in                 the DMT modulation and transforms the QAM symbols 58
  which:                                                                  into DMT symbols 70 each comprised of a plurality of time-
     FIG. 1 is a block diagram of an embodiment of a digital              domain samples. The modulator 46 modulates each carrier
  subscriber line communications system including a DMT                   signal with a different QAM symbol 58. As a result of this
  (discrete multitone modulation) transceiver, in communica-         15   modulation, carrier signals have phase and amplitude char-
  tion with a remote transceiver, having a phase scrambler for            acteristics based on the QAM symbol 58 and therefore based
  substantially scrambling the phase characteristics of carrier           on the input-bit stream 54. In particular, the modulator 46
  signals; and                                                            uses an inverse fast Fourier transform (IFFT) to change the
     FIG. 2 is a flow diagram of an embodiment of a process for           QAM symbols 58 into a transmission signal 38 comprised of
  scrambling the phase characteristics of the carrier signals in a   20   a sequence of DMT symbols 70. The modulator 46 changes
  transmission signal.                                                    the QAM symbols 58 into DMT symbols 70 through modu-
                                                                          lation of the carrier signals. In another embodiment, the
                  DETAILED DESCRIPTION                                    modulator 46 uses the inverse discrete Fourier transform
                                                                          (IDFT) to change the QAM symbols 58 into DMT symbols
     FIG. 1 shows a digital subscriber line (DSL) communica-         25   70. In one embodiment, a pilot tone is included in the trans-
  tion system 2 including a discrete multitone (DMT) trans-               mission signal 38 to provide a reference signal for coherent
  ceiver 10 in communication with a remote transceiver 14 over            demodulation of the carrier signals in the remote receiver 34
  a communication chaunel18 using a transmission signal 38                during reception of the transmission signal 38.
  having a plurality of carrier signals. The DMT transceiver 10              The modulator 46 also includes a phase scrambler 66 that
  includes a DMT transmitter 22 and a DMT receiver 26. The           30   combines a phase shift computed for each QAM-modulated
  remote transceiver 14 includes a transmitter 30 and a receiver          carrier signal with the phase characteristic of that carrier
  34. Although described with respect to discrete multitone               signal. Combining phase shifts with phase characteristics, in
  modulation, the principles of the invention apply also to other         accordance with the principles of the invention, substantially
  types of multi carrier modulation, such as, but not limited to,         scrambles the phase characteristics of the carrier signals in
  orthogonally multiplexed quadrature amplitude modulation           35   the transmission signal 38. By scrambling the phase charac-
  (OQAM), discrete wavelet multitone (DWMT) modulation,                   teristics of the carrier signals, the resulting transmission sig-
  and orthogonal frequency division multiplexing (OFDM).                  nal 38 has a substantially minimized peak-to-average (PAR)
     The communication channel 18 provides a downstream                   power ratio. The phase scrambler 66 can be part of or external
  transmission path from the DMT transmitter 22 to the remote             to the modulator 46. Other embodiments of the phase scram-
  receiver 34, and an upstream transmission path from the            40   bIer 66 include, but are not limited to, a software program that
  remote transmitter 3 0 to the D MT receiver 26. In one embodi-          is stored in local memory and is executed on the modulator
  ment' the communication channel 18 is a pair of twisted wires           46, a digital signal processor (DSP) capable of performing
  of a telephone subscriber line. In other embodiments, the               mathematical functions and algorithms, and the like. The
  communication chaunel18 can be a fiber optic wire, a quad               remote receiver 34 similarly includes a phase descrambler 66'
  cable, consisting of two pairs of twisted wires, or a quad cable   45   for use when demodulating carrier signals that have had their
  that is one of a star quad cable, a Dieselhorst-Martin quad             phase characteristics adjusted by the phase scrambler 66 of
  cable, and the like. In a wireless communication system                 the DMT transceiver 10.
  wherein the transceivers 10, 14 are wireless modems, the                   To compute a phase shift for each carrier signal, the phase
  communication channel 18 is the air through which the trans-            scrambler 66 associates one or more values with that carrier
  mission signal 38 travels between the transceivers 10, 14.         50   signal. The phase scrambler 66 determines each value for a
     By way of example, the DMT transmitter 22 shown in FIG.              carrier signal independently of the QAM symbols 58, and,
  1 includes a quadrature amplitude modulation (QAM)                      therefore, independently of the bit value(s) modulated onto
  encoder 42, a modulator 46, a bit allocation table (BAT) 44,            the carrier signal. The actual value(s) that the phase scrambler
  and a phase scrambler 66. The DMT transmitter 22 can also               66 associates with each carrier signal can be derived from one
  include a bit scrambler 74, as described further below. The        55   or more predefined parameters, such as a pseudo-random
  remote transmitter 30 of the remote transceiver 14 comprises            number generator (pseudo-RNG), a DMT carrier number, a
  equivalent components as the DMT transmitter 22. Although               DMT symbol count, a DMT superframe count, a DMT hyper-
  this embodiment specifies a detailed description of the DMT             frame count, and the like, as described in more detail below.
  transmitter 22, the inventive concepts apply also to the receiv-        Irrespective of the technique used to produce each value, the
  ers 34, 24 which have similar components to that of the DMT        60   same technique is used by the DMT transmitter 22 and the
  transmitter 22, but perform inverse functions in a reverse              remote receiver 34 so that the value associated with a given
  order.                                                                  carrier signal is known at both ends of the communication
     The QAM encoder 42 has a single input for receiving an               channel 18.
  input serial data bit stream 54 and multiple parallel outputs to           The phase scrambler 66 then solves a predetermined equa-
  transmit QAM symbols 58 generated by the QAM encoder 42            65   tion to compute a phase shift for the carrier signal, using the
  from the bit stream 54. In general, the QAM encoder 42 maps             value( s) associated with that carrier signal as input that effects
  the input serial bit-stream 54 in the time domain into parallel         the output of the equation. Any equation suitable for comput-
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  ing phase shifts can be used to compute the phase shifts.                 such a predefined parameter is the superframe count that
  When the equation is independent of the bit values of the                 increments by one every 69 DMT symbols. One exemplary
  input serial bit stream 54, the computed phase shifts are also            implementation that achieves the superframe counter is to
  independent of such bit values.                                           perform a modulo 68 operation on the symbol count. As
     In one embodiment (shown in phantom), the DMT trans-                   another example, the DMT transmitter 22 can maintain a
  mitter 22 includes a bit scrambler 74, which receives the input           hyperframe counter for counting hyperframes. An exemplary
  serial bit stream 54 and outputs data bits 76 that are substan-           implementation of the hyperframe count is to perform a
  tially scrambled. The substantially scrambled bits 76 are then            modulo 255 operation on the superframe count. Thus, the
  passed to the QAM encoder 42. When the bit scrambler 74 is                hyperframe count increments by one each time the super-
  included in the DMT transmitter 22, the operation of the
                                                                       10   frame count reaches 255.
  phase scrambler 66 further assures that the transmission sig-
                                                                               Accordingly, it is seen that some predefined parameters
  nal 38 has a Gaussian probability distribution and, therefore,
                                                                            produce values that vary from carrier signal to carrier signal.
  a substantially minimized PAR.
     FIG. 2 shows embodiments of a process used by the DMT                  For example, when the predefined parameter is the DMT
  transmitter 22 for adjusting the phase characteristic of each        15
                                                                            carrier number, values vary based on the frequency of the
  carrier signal and combining these carrier signals to produce             carrier signal. As another example, the pseudo-RNG gener-
  the transmission signal 38. The D MT transmitter 22 generates             ates a new random value for each carrier signal.
  (step 100) a value that is associated with a carrier signal.                 Other predefined parameters produce values that vary from
  Because the value is being used to alter the phase character-             DMT symbol 70 to DMT symbol 70. For example, when the
  istics of the carrier signal, both the DMT transmitter 22 and        20   predefined parameter is the symbol count, the superframe
  the remote receiver 34 must recognize the value as being                  count, or hyperframe count, values vary based on the numeri-
  associated with the carrier signal. Either the DMT transmitter            cal position of the DMT symbol 70 within a sequence of
  22 and the remote receiver 34 independently derive the asso-              symbols, superframes, or hyperframes. Predefined param-
  ciated value, or one informs the other of the associated value.           eters such as the pseudo-RNG, symbol count, superframe
  For example, in one embodiment the DMT transmitter 22 can            25   count, and superframe can also be understood to be param-
  derive the value from a pseudo-RNG and then transmit the                  eters that vary values over time. Anyone or combination of
  generated value to the remote receiver 34. In another embodi-             the predefined parameters can provide values for input to the
  ment' the remote receiver 34 similarly derives the value from             equation that computes a phase shift for a given carrier signal.
  the same pseudo-RNG and the same seed as used by the                         In one embodiment, the phase scrambling is used to avoid
  transmitter (i.e., the transmitter pseudo-RNG produces the           30
                                                                            clipping of the transmission signal 38 on a DMT symbol 70
  same series of random numbers as thereceiverpseudo-RNG).
                                                                            by DMT symbol 70 basis. In this embodiment, the DMT
     As another example, the DMT transmitter 22 and the
                                                                            transmitter 22 uses a value based on a predefined parameter
  remote receiver 34 can each maintain a symbol counter for
                                                                            that varies over time, such as the symbol count, to compute
  counting DMT symbols. The DMT transmitter 22 increments
                                                                            the phase shift. It is to be understood that other types of
  its symbol counter upon transmitting a DMT symbol; the               35
                                                                            predefined parameters that vary the values associated with
  remote receiver 34 upon receipt. Thus, when the DMT trans-
                                                                            carrier signals can be used to practice the principles of the
  mitter 22 and the remote receiver 34 both use the symbol
                                                                            invention. As described above, the transceivers 10, 14 may
  count as a value for computing phase shifts, both the DMT
                                                                            communicate (step 11 0) the values to synchronize their use in
  transmitter 22 and remote receiver 34 "know" that the value is
                                                                            modulating and demodulating the carrier signals.
  associated with a particular DMT symbol and with each car-           40
                                                                               The DMT transmitter 22 then computes (step 115) the
  rier signal of that DMT symbol.
                                                                            phase shift that is used to adjust the phase characteristic of
     Values can also be derived from other types of predefined
                                                                            each carrier signal. The amount of the phase shift combined
  parameters. For example, if the predefined parameter is the
                                                                            with the phase characteristic of each QAM -modulated carrier
  DMT carrier number, then the value associated with a par-
                                                                            signal depends upon the equation used and the one or more
  ticular carrier signal is the carrier number of that signal within   45
                                                                            values associated with that carrier signal.
  the DMT symbol. The number of a carrier signal represents
                                                                               The DMT transmitter 22 then combines (step 120) the
  the location of the frequency of the carrier signal relative to
                                                                            phase shift computed for each carrier signal with the phase
  the frequency of other carrier signals within a DMT symbol.
                                                                            characteristic of that carrier signal. By scrambling the phase
  For example, in one embodiment the DSL communication
                                                                            characteristics of the carrier signals, the phase scrambler 66
  system 2 provides 256 carrier signals, each separated by a           50
                                                                            reduces (with respect to unscrambled phase characteristics)
  frequency of 4.3125 kHz and spauning the frequency band-
                                                                            the combined PAR of the plurality of carrier signals and,
  width from 0 kHz to 1104 kHz. The DMT transmitter 22
                                                                            consequently, the transmission signal 38. The following three
  numbers the carrier signals from 0 to 255. Therefore, "DMT
                                                                            phase shifting examples, PS #1-PS #3, illustrate methods
  carrier number 50" represents the 51st DMT carrier signal
                                                                       55   used by the phase scrambler 66 to combine a computed phase
  which is located at the frequency of 215.625 kHz (i.e.,
                                                                            shift to the phase characteristic of each carrier signal.
  51x4.3125 kHz).
     Again, the DMT transmitter 22 and the remote receiver 34                                Phase Shifting Example #1
  can know the value that is associated with the carrier signal
  because both the DMT transmitter 22 and the remote receiver                  Phase shifting example #1 (PS #1) corresponds to adjust-
  34 use the same predefined parameter (here, the DMT carrier          60   ing the phase characteristic of the QAM-modulated carrier
  number) to make the value-carrier signal association. In other            signal associated with a carrier number N by
  embodiments (as exemplified above with the transmitter
  pseudo-RNG), the DMTtransmitter22 can transmit the value
  to the remote receiver 34 (or vice versa) over the communi-
  cation channel 18.                                                   65
     In other embodiments, other predefined parameters can be
  used in conjunction with the symbol count. One example of
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                                                            US 8,090,008 B2
                                         7                                                                     8
  modulo (mod) 2n. In this example, a carrier signal having a
  carrier number N equal to 50 has a phase shift added to the
  phase characteristic of that carrier signal equal to

                                                                           (Note that 9 is the 5th value in X N ) The carrier signal with a
                               Jr           2
                         sax   3 (mod2Jr) = 3Jr·                           carrier number N equal to 6 has a phase shift added to the
                                                                           phase characteristic of the carrier signal equal to

  The carrier signal with a carrier number N equal to 51 has a        10
  phase shift added to the phase characteristic of that carrier                                           Jr          5Jr
                                                                                                  (5) x   "6 (mod2n) = (5'
  signal equal to

                                                                              It is to be understood that additional and/or different phase
                               Jr
                          51 x 3 (mod2n) = Jr.                        15   shifting techniques can be used by the phase scrambler 66,
                                                                           and that PS #1, #2, and #3 are merely illustrative examples of
                                                                           the principles of the invention. The DMT transmitter 22 then
  The carrier signal with the carrier number N equal to 0 has no           combines (step 130) the carrier signals to form the transmis-
  phase shift added to the phase characteristic of that carrier            sion signal 38. If the transmission signal is not clipped, as
  signal.                                                             20   described below, the DMT transmitter 22 consequently trans-
                                                                           mits (step 160) the transmission signal 38 to the remote
                   Phase Shifting Example #2                               receiver 34.
                                                                           Clipping of Transmission Signals
                                                                              A transmission signal 38 that has high peak values of
     Phase shifting example #2 (PS #2) corresponds to adjust-         25   voltage (i.e., a high PAR) can induce non-linear distortion in
  ing the phase characteristic of the QAM-modulated carrier                the DMT transmitter 22 and the communication chaunel18.
  signal associated with a carrier number N by                             One form of this non-linear distortion of the transmission
                                                                           signal 38 that may occur is the limitation of the amplitude of
                                                                           the transmission signal 38 (i.e., clipping). For example, a
                                             Jr
                               (N+M)X             ,                   30   particular DMT symbol 70 clips in the time domain when one
                                             4
                                                                           or more time domain samples in that DMT symbol 70 are
                                                                           larger than the maximum allowed digital value for the DMT
  mod 2n, where M is the symbol count. In this example, a                  symbols 70. In multicarrier communication systems when
  carrier signal having a carrier number N equal to 50 on DMT              clipping occurs, the transmission signal 38 does not accu-
  symbol count M equal to 8 has a phase shift added to the phase      35   rately represent the input serial data bit signal 54.
  characteristic of that carrier signal equal to                              In one embodiment, the DSL communication system 2
                                                                           avoids the clipping of the transmission signal 38 on a DMT
                                                                           symbol 70 by DMT symbol 70 basis. The DMT transmitter 22
                                    Jr                Jr                   detects (step 140) the clipping of the transmission signal 38.
                       (50 + 8) x   4(mod2n) = 2'
                                                                      40   If a particular DMT symbol 70 clips in the time domain to
                                                                           produce a clipped transmission signal 38, the DMT transmit-
                                                                           ter 22 substitutes (step 150) a predefined transmission signal
  The carrier signal with the same carrier number N equal to 50
                                                                           78 for the clipped transmission signal 38.
  on the next DMT symbol count M equal to 9 has a phase shift
                                                                              The predefined transmission signal 78 has the same dura-
  added to the phase characteristic of that carrier signal equal to
                                                                      45   tion as a DMT symbol 70 (e.g., 250 ms) in order to maintain
                                                                           symbol timing between the DMT transmitter 22 and the
                                                                           remote receiver 34. The predefined transmission signal 78 is
                                    Jr                3Jr
                       (50 + 9)x    4 (mod2Jr) = 4'                        not based on (i.e., independent of) the modulated input data
                                                                           bit stream 54; it is a bit value pattern that is recognized by the
                                                                      50   remote receiver 34 as a substituted signal. In one embodi-
                                                                           ment, the predefined transmission signal 78 is a known
                   Phase Shifting Example #3                               pseudo-random sequence pattern that is easily detected by the
                                                                           remote receiver 34. In another embodiment, the predefined
                                                                           transmission signal 78 is an "all zeros" signal, which is a zero
     Phase shifting example #3 (PS #3) corresponds to adjust-
                                                                      55   voltage signal produced at the DMT transmitter 22 output
  ing the phase characteristic of the QAM-modulated carrier
                                                                           (i.e., zero volts modulated on all the carrier signals). In addi-
  signal associated with a carrier number N by
                                                                           tion to easy detection by the remote receiver 34, the zero
                                                                           voltage signal reduces the power consumption of the DMT
                                                                           transmitter 22 when delivered by the DMT transmitter 22.
                                                                      60   Further, a pilot tone is included in the predefined transmission
                                                                           signal 78 to provide a reference signal for coherent demodu-
                                                                           lation of the carrier signals in the remote receiver 34 during
  mod 2n, where X N is an array ofN pseudo-random numbers.                 reception of the predefined transmission signal 78.
  In this example, a carrier signal having a carrier number N                 After the remote receiver 34 receives the transmission sig-
  equal to 5 andXNequal to [3, 8,1,4,9,5, ... Jhas a phase shift      65   na138, the remote receiver 34 determines if the transmission
  added to the phase characteristic of the carrier signal that is          signal 38 is equivalent to the predefined transmission signal
  equal to                                                                 78. In one embodiment, when the remote receiver 34 identi-
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                                                       US 8,090,008 B2
                                 9                                                                      10
  fies the predefined transmission signal 78, the remote receiver        thereby causing a different set of time domain samples to be
  34 ignores (i.e., discards) the predefined transmission signal         generated for the subsequent DMT symbol 70', although the
  78.                                                                    QAM symbols 58 used to produce both DMT symbols 70, 70'
     Following the transmission of the predefined transmission           are the same.
  signal 78, the phase scrambler 66 shifts (step 120) the phase     5       If this different set of time domain samples (and conse-
  characteristic of the QAM-modulated carrier signals (based             quently the transmission signal 38) is not clipped, the DMT
  on one of the predefined parameters that varies over time). For        transmitter 22 sends the transmission signal 38. If one of the
  example, consider that a set of QAM symbols 58 produces a              time domain samples in the different set of time domain
  DMT symbol 70 comprising a plurality of time domain                    samples 70 (and consequently the transmission signal 38) is
  samples, and that one of the time domain samples is larger        10   clipped, then the DMT transmitter 22 sends the predefined
  than the maximum allowed digital value for the DMT symbol              transmission signal 78 again. The process continues until a
  70. Therefore, because the transmission signal 38 would be             DMT symbol 70 is produced without a time domain sample
  clipped when sent to the remote receiver 34, the DMT trans-            70 that is clipped. In one embodiment, the transmitter 22 stops
  mitter 22 sends the predefined transmission signal 78 instead.    15
                                                                         attempting to produce a non-clipped DMT symbol 70' for the
     After transmission of the predefined transmission signal            particular set of QAM symbols 58 after generating a prede-
                                                                         termined number of clipped DMT symbols 70'. At that
  78, the DMT transmitter 22 again attempts to send the same
                                                                         moment, the transmitter 22 can transmit the most recently
  bit values that produced the clipped transmission signal 38 in
                                                                         produced clipped DMT symbol 70' or the predetermined
  a subsequent DMT symbol 70'. Because the generation of
                                                                         transmission signal 78.
  phase shifts in this embodiment is based on values that vary      20
                                                                            The PAR of the DSL communication system 2 is reduced
  over time, the phase shifts computed for the subsequent D MT           because the predefined transmission signal 78 is sent instead
  symbol 70' are different than those that were previously com-          of the transmission signal 38 when the DMT symbol 70 clips.
  puted for the DMT symbol 70 with the clipped time domain               For example, a DMT communication system 2 that normally
  sample. These different phase shifts are combined to the               has a clipping probability of 10-7 for the time domain trans-
  phase characteristics of the modulated carrier signals to pro-    25
                                                                         mission signal 38 can therefore operate with a 10-5 probabil-
  duce carrier signals of the subsequent DMT symbol 70' with             ityofclippingandalowerPARequal to 12.8 dB (as compared
  different phase characteristics than the carrier signals of the        to 14.5 dB). When operating at a 10-5 probability of clipping,
  DMT symbol 70 with the clipped time domain sample.                     assuming a DMT symbol 70 has 512 time-domain samples
     DMT communication systems 2 infrequently produce                    70, the DMT transmitter 22 experiences one clipped DMT
  transmission signals 38 that clip (e.g., approximately one clip   30
                                                                         symbol 70 out of every
  every 107 time domain samples 70). However, if the subse-
  quent DMT symbol 70' includes a time domain sample that
  clips, then the predefined transmission signal 78 is again
  transmitted (step 150) to the remote receiver 34 instead of the
  clipped transmission signal 38. The clipping time domain          35
  sample may be on the same or on a different carrier signal than
  the previously clipped DMT symbol 70. The DMT transmit-                or 195 DMT symbols 70. This results in the predefined (non-
  ter 22 repeats the transmission of the predefined transmission         data carrying) transmission signal 78 being transmitted, on
  signal 78 until the DMT transmitter 22 produces a subsequent           average, once every 195 DMT symbols. Although increasing
  DMT symbol 70' that is not clipped. When the DMT trans-           40   the probability of clipping to 10- 5 results in approximately a
  mitter 22 produces a DMT symbol 70' that is not clipped, the           0.5% (11195) decrease in throughput, the PAR of the trans-
  DTM transmitter 22 transmits (step 160) the transmission               mission signal 38 is reduced by 1.7 dB, which reduces trans-
  signal 38 to the remote receiver 34. The probability of a DMT          mitter complexity in the form of power consumption and
  symbol 70 producing a transmission signal 38 that clips in the         component linearity.
  time domain depends on the PAR of the transmission signal         45      While the invention has been shown and described with
  38.                                                                    reference to specific preferred embodiments, it should be
     For example, the following phase shifting example, PST              understood by those skilled in the art that various changes in
  #4, illustrates the method used by the phase scrambler 66 to           form and detail may be made therein without departing from
  combine a different phase shift to the phase characteristic of         the spirit and scope of the invention as defined by the follow-
  each carrier signal to avoid the clipping of the transmission     50   ing claims. For example, although the specification uses DSL
  signal 38.                                                             to describe the invention, it is to be understood that various
                                                                         form ofDSL can be used, e.g., ADSL, VDSL, SDSL, HDSL,
                   Phase Shifting Example #4                             HDSL2, or SHDSL. It is also to be understood that the prin-
                                                                         ciples of the invention apply to various types of applications
     Phase shifting example #4 (PS #4) corresponds to adjust-       55   transported over DSL systems (e.g., telecommuting, video
  ing the phase characteristic of the carrier signal associated          conferencing, high speed Internet access, video-on demand).
  with a carrier number N by
                                                                            What is claimed is:
                                                                            1. A method for scrambling phase characteristics of carrier
                            7r
                            3" x(M +N),                             60   signals in a first multi carrier transceiver that uses a plurality
                                                                         of carrier signals for modulating a bit stream, wherein each
                                                                         carrier signal has a phase characteristic associated with the bit
  mod 2Jt, where M is the DMT symbol count. In this example,             stream, the method comprising:
  if the DMT symbol 70 clips when the DMT symbol count M                    associating each carrier signal with a value determined
  equals 5, the predefined transmission signal 78 is transmitted    65         independently of any bit value of the bit stream carried
  instead of the current clipped transmission signal 38. On the                by that respective carrier signal, the value associated
  following DMT symbol period, the DMT count M equals 6,                       with each carrier signal determined using a pseudo-
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                                                         US 8,090,008 B2
                                 11                                                                        12
        random number generator; computing a phase shift for                   associating each carrier signal with a value determined
        each carrier signal based on the value associated with                    independently of any bit value of the bit stream carried
        that carrier signal; and                                                  by that respective carrier signal, the value associated
     combining the phase shift computed for each respective                       with each carrier signal determined using a pseudo-
        carrier signal with the phase characteristic of that carrier              random number generator;
                                                                               computing a phase shift for each carrier signal based on the
        signal so as to substantially scramble the phase charac-
                                                                                  value associated with that carrier signal; and
        teristics of the plurality of carrier signals, wherein mul-            combining the phase shift computed for each respective
        tiple carrier signals corresponding to the scrambled car-                 carrier signal with the phase characteristic of that carrier
        rier signals are used by the first multicarrier transceiver               signal to substantially scramble the phase characteristics
        to modulate the same bit value.                                10         of the plurality of carrier signals, wherein multiple car-
     2. The method of claim 1, wherein the first transceiver is a                 rier signals corresponding to the scrambled carrier sig-
  cable transceiver.                                                              nals are used by the first transceiver to modulate the
     3. The method of claim 1, wherein the first transceiver is a                 same bit value.
  VDSL transceiver.                                                    15      15. The system of claim 14, wherein the first transceiver is
     4. The method of claim 1, wherein the bit stream is used to            a cable transceiver.
  transport video.                                                             16. The system of claim 14, wherein the first transceiver is
     5. The method of claim 1, wherein the bit stream is used to            a VDSL transceiver.
  transport high speed intemet access.                                         17. The system of claim 14, wherein the bit stream is used
     6. The method of claim 1, further comprising, in a second         20
                                                                            to transport video.
  transceiver in communication with the first transceiver, inde-               18. The system of claim 14, wherein the bit stream is used
                                                                            to transport high speed internet access.
  pendently deriving the values associated with each carrier
                                                                               19. The system of claim 14, further comprising a second
  using a second pseudo-random number generator in the sec-
                                                                            transceiver in communication with the first transceiver, the
  ond transceiver.
                                                                            second transceiver independently deriving the values associ-
     7. The method of claim 6, wherein the first and second            25
                                                                            ated with each carrier using a second pseudo-random number
  transceivers use a same seed for the pseudo-random number
                                                                            generator in the second transceiver.
  generator.
                                                                               20. The system of claim 19, wherein the first and second
     8. The method of claim 6, wherein the first and second
                                                                            transceivers use a same seed for the pseudo-random number
  transceivers are wireless transceivers.
                                                                            generator.
     9. The method of claim 6, wherein the first and second            30
                                                                               21. The system of claim 19, wherein the first and second
  transceivers are cable transceivers.
                                                                            transceivers are wireless transceivers.
     10. The method of claim 6, wherein the first and second
                                                                               22. The system of claim 19, wherein the first and second
  transceivers are DSL transceivers connected using a pair of
                                                                            transceivers are cable transceivers.
  twisted wires of a telephone subscriber system.
                                                                               23. The system of claim 19, wherein the first and second
     11. The method of claim 10, wherein the first and second          35
                                                                            transceivers are DSL transceivers connected using a pair of
  transceivers are VDSL transceivers.
                                                                            twisted wires of a telephone subscriber system.
     12. The method of claim 6, wherein the bit stream is used
                                                                               24. The system of claim 23, wherein the first and second
  to transport video.
                                                                            transceivers are VDSL transceivers.
     13. The method of claim 6, wherein the bit stream is used
                                                                       40      25. The system of claim 19, wherein the bit stream is used
  to transport high speed internet access.
                                                                            to transport video.
     14. A multi carrier system including a first transceiver that
                                                                               26. The system of claim 19, wherein the bit stream is used
  uses a plurality of carrier signals for modulating a bit stream,
                                                                            to transport high speed internet access.
  wherein each carrier signal has a phase characteristic associ-
  ated with the bit stream, the transceiver capable of:                                             * * * * *
